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                    IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF DELAWARE

                                                   )
In re:                                             )    Chapter 11
                                                   )
YELLOW CORPORATION, et al,                         )    Case No. 23-11069(CTG)
                                                   )
                                                   )
                              Debtor.              )    Objections Due: February 7, 2024 at 4:00 pm
                                                   )    (ET)
                                                        Hearing Date: February 14, 2024 at 10:00 am
                                                        (ET)

                        MOTION OF MARTHA LIGIA BUILES
                      FOR RELIEF FROM THE AUTOMATIC STAY

         Martha Ligia Lopez Builes (“Builes”)(“Movant”), by and through their undersigned

counsel, hereby move this Honorable Court for Relief from the Automatic Stay to assert and

prosecute personal injury claims against the Debtors, and in support thereof, states as follows:

                              JURISDICTION AND VENUE

         1.    On August 6, 2023 (the “Petition Date”), the Debtors filed Voluntary Petitions for

relief under Chapter 11 of Title 11 of the United States Bankruptcy Code (the “Bankruptcy

Code”) in the United States Bankruptcy Court for the District of Delaware.

         2.    This Court has jurisdiction to entertain this Motion pursuant to 28 U.S.C. §§ 157

and 1334.

         3.    Venue in this District is proper pursuant to 28 U.S.C. § 1408 and 1409.

         4.    The statutory predicates for the relief sought are section 362(d)(1) of the

Bankruptcy Code, Rule 4001(a) of the Federal Rules of Bankruptcy Procedure (the "Bankruptcy

Rules") and Rule 4001-1 of the Local Rules of Practice and Procedure of the United States

Bankruptcy Court for the District of Delaware (the "Local Rules").
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                      STATEMENT OF FACTS - RELEF REQUESTED

       5.      Debtors, Yellow Corporation f/k/a YRC Worldwide, Inc., YRC, Inc. d/b/a YRC

Freight are each a Delaware corporation that is authorized and conducts continuous business in

the State of Florida and owned, leased or was in possession of a 2022 Peterbuilt Tractor Trailer

Truck bearing Florida license plate number 3119905 and VIN number 1XPBAP8X9ND759261

(the “Subject Vehicle”).

       6.      Prior to the Petition Date, Movants filed a complaint asserting a cause of

action against Yellow Corporation f/k/a YRC Worldwide, Inc., YRC Inc. d/b/a YRC

Freight and Pedro Joaquin Valle, in the Circuit Court of the 17th Judicial Circuit in

Boward County, Florida, Case No. 23-006323 (the "State Court Action") arising from

injuries sustained by Movant from a collision between the Subject Vehicle operated

by an agent, employee and/or servant of YRC and a vehicle operated by Movant.

       7.      Movant has asserted claims with the insurance carrier for Debtors under

Policy No. MWML 1856 with Old Republic Insurance Company (the “Policy”).

       8.      On or about August 8, 2023, Debtors filed its Suggestion of Bankruptcy in the

State Court Action advising the Court of this bankruptcy case filed by Debtors.

       9.      Accordingly, Movant files this Motion and request that this Honorable Court lift

the automatic stay to allow Movant to continue asserting claims against the Policy and to allow

Movant to liquidate their claims in the State Court Action. Movant is not seeking the right to

execute upon any judgments she may obtain against the Debtors other than rights to collection

against applicable insurance carriers and liquidation of the claims for purposes of proofs of claim

to be allowed as general unsecured creditors under any confirmed Plan of Reorganization should

a self retention or similar limitation impair Movant’s ability to collect any settlement or

judgment from the Debtors’ insurance carrier.

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                                      BASIS FOR RELIEF

        10.     Bankruptcy Code section 362(d)(1) provides that a “court shall grant relief from

the stay provided under subsection (a) of this section, such as by terminating, annulling,

modifying, or conditioning such stay - (1) for cause.” 11 U.S.C. § 362(d)(1).

        11.     There is no definition of “cause” in the Bankruptcy Code. Therefore, “cause”

must be determined on a case-by-case basis. International Business Machines v. Fernstrom

Storage & Van Co. (In re Fernstrom Storage & Van Co.), 938 F.2d 731, 735 (7th Cir. 1991)

(citing In re Tuscon Estates, 912 F.2d 1162, 1166 (9th Cir. 1990)); Izzarelli v. Rexene Products

Co. (In re Rexene Products Co.), 141 B.R. 574, 576 (Bankr. D. Del. 1992).

        12.     In determining whether “cause” exists to lift the stay to permit a party to continue

litigating an action in a non-bankruptcy court, courts in the Third Circuit apply the following

three factor test:

                (1)    Whether any great prejudice to either the bankrupt estate or the debtor will

                       result from continuation of the civil suit; and

                (2)    Whether the hardship to the non-bankrupt party by maintenance of the

                       stay considerably outweighs the hardship to the debtor; and

                (3)    The probability of the creditor prevailing on the merits.

Rexene Products, 141 B.R. at 576; see also American Airlines, Inc. v. Continental Airlines, Inc.

(In re Continental Airlines, Inc.), 152 B.R. 420, 424 (D. Del. 1993); Levitz Furniture Inc. v. T.

Rowe Price Recovery Fund, L.P. (In re Levitz Furniture Inc.), 2000 Bankr. LEXIS 1322, *15

(Bankr. D. Del. 2000); Save Power Limited v. Pursuit Athletic Footwear, Inc. (In re Pursuit

Athletic Footwear, Inc.), 193 B.R. 713, 718 (Bankr. D. Del. 1996).

        13.     Further, courts are directed to consider the following legislative history: It will

often be more appropriate to permit proceedings to continue in their place of origin, where no

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great prejudice to the bankruptcy estate would result, in order to leave the parties to their chosen

forum and to relieve the bankruptcy court from many duties that may be handled elsewhere.

Rexene Products, 141 B.R. at 576; In re Wilson, 85 B.R. 722, 728-29 (Bankr. E.D. Pa. 1988)

(citing S. Rep. No. 989, 95th Cong., 2d. Sess. 50, reprinted in [1978] U.S. Code Cong. & Ad.

News 5836).

        14.     This Court, in the Continental Airlines decision referred to above, set forth the

following framework for analyzing motions for relief from the automatic stay:

                        “There is no rigid test for determining whether sufficient
                cause exists to modify an automatic stay. Rather, in resolving
                motions for relief for “cause” from the automatic stay courts
                generally consider the policies underlying the automatic stay in
                addition to the competing interests of the debtor and the movant.
                In balancing the competing interests of the debtor and the movant,
                Courts consider three factors: (1) the prejudice that would be
                suffered should the stay be lifted; (2) the balance of the hardships
                facing the parties; and (3) the probable success on the merits if the
                stay is lifted. See Int’l Business Machines v. Fernstrom Storage &
                Van Co. (In re Fernstrom Storage & Van Co.) 938 F. 2d 731.
                734-37 (7th Cir. 1991).”

Id. at 424.

        15.     All three factors weigh heavily in favor of modifying the automatic stay to permit

Movant to proceed with their non-bankruptcy action in pursuit of his personal injury claims and

against all available insurance proceeds.

        16.     In determining whether a debtor will endure prejudice if the automatic stay is

lifted, courts examine the status of the underlying non-bankruptcy court action. In this case,

Movant’s counsel had been addressing these claims with the Debtors’ insurance carrier but was

required to cease settlement efforts as a result of the filing of the bankruptcy case. The Movant’s

anticipate settling all claims.

        17.     Administration of the estate will not be delayed by granting this Motion. The

bankruptcy case was recently commenced on August 6, 2023.
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       18.     The Movant’s has identified applicable insurance coverage; consequently, the

Debtors will not need to expend resources in the defense of these actions. There should be no

inconvenience to the Debtors by allowing Movant to pursue her State Court Action.

       19.     Debtors will not suffer great prejudice if the stay is lifted and the Movant is

permitted to proceed against the insurance and liquidate any claims he has against the Debtors.

       20.     The third prong of the Fernstrom test analyzes the Movant’s probability of

success on the underlying action. As stated by the bankruptcy court in Rexene Products, “the

required showing is very slight.” Rexene Products, 141 B.R at 578; see also Continental

Airlines, 152 B.R. at 420 (“The third factor the Court must consider in assessing the propriety of

lifting the automatic stay is whether the Movants have some probability of success on the merits

in the proposed litigation.”); Levitz Furniture, 2000 Bankr. LEXIS at *17 (holding that Movants

only need to show “that their claim is not frivolous” to satisfy the third prong).

       21.     Movant has satisfied the third part of the Rexene test. Here, the Movant’s claims

against the Debtors are clearly not frivolous as evidenced by the fact that the Movant sustained

seriously injuries caused by Debtor’s negligence and breach of duty owed to Movant. Movant

had been addressing these claims through Debtors’ insurance carrier before the Petition Date.

Granting of a Relief from Stay will allow the process to proceed, and, under any circumstances,

complete the liquidation of Movant’s claims.

       22.     Based on the foregoing, Movant respectfully submit that the Debtors’

administration and reorganization endeavors will not be prejudiced by the granting of this

Motion because the Movant is seeking only to liquidate her claims, pursue available insurance

proceeds and preserve any rights they have under a confirmed plan of reorganization. Movant

would be seriously prejudiced by any delay.

       WHEREFORE, based on the foregoing reasons, Movant prays for the entry of an Order

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terminating the automatic stay of 11 U.S.C. § 362(a) to proceed against insurance proceeds, to

allow Movant to pursue and liquidate their claims in the State Court Action and to grant such

other and further relief as the Court deems just and proper.

                                      OFFIT KURMAN, P.A.

                                      By: /s/ Brian J. McLaughlin
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